                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

                                   MINUTE SHEET

UNITED STATES OF AMERICA                             Date:       June 15, 2021

vs.                                                  Case No.: 21-03067-01-CR-S-BCW

DAVID PANBEHCHI


Honorable David P. Rush, presiding at Springfield, Missouri

Nature of Hearing: Initial Appearance – Indictment
                   Arraignment
                   Scheduling Conference

Time Commenced: 10:56 a.m.                                    Time Terminated: 10:59 a.m.


                                    APPEARANCES

Plaintiff:    Cameron Beaver, SAUSA
USPPTS:       Ian Lewis, FPD


Proceedings: Parties appear as indicated above. Defendant appears in person.

              Defendant advised of rights and the Public Defender’s Office has been
              appointed. Court adopts the same conditions of release that was previously
              imposed.

             Arraignment: Defendant waives formal reading of the Indictment and enters
             a plea of not guilty as to all counts naming Defendant.

             Scheduling Conference: A scheduling order setting forth discovery deadlines
             will be entered by the Court. Case placed on the next Joint Criminal Trial
             Docket. Rule 5f Order entered.

             Defendant on bond.


Courtroom Deputy/ERO: Karla Berziel




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